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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

HOUSTON DIVISION
UNITED STATES OF AMERICA, §
§
Plaintiff, §
§
v. § CASE NO. 4:16-CR-257
§
STARSKY D. BOMER, §
§
§
Defendant. §
VERDICT OF THE JURY FORM
On Count One:

We, the Jury, unanimously find the Defendant, Starsky Bomer:

Not Guilty 5 Guilty

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On Count Two:

We, the Jury, find the Defendant, Starsky Bomer:

Not Guilty g Guilty

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0n Count Three:

We, the Jury, find the Defendant, Starsky Bomer:

Not Guilty 4 Guilty

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On Count Four:

We, the Jury, find the Defendant, Starsky Bomer:

Not Guilty g Guilty

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CERTIFICATE

We the jury, have made the above findings as indicated, and herewith return Sarne into
Court as our verdict

sIGNEl)rhiSrhe § day OfOCtOber,2018,arH0usr0n,Tean.

Y FOREPERSON

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